       Case 1:25-cv-02042-GHW             Document 1       Filed 03/11/25      Page 1 of 27




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 SONY MUSIC ENTERTAINMENT, ALAMO
 RECORDS, LLC, ARISTA MUSIC, ARISTA
 RECORDS, LLC, LAFACE RECORDS, LLC,                       Civil Action No. __________
 RECORDS LABEL, LLC, ULTRA RECORDS,
 LLC, and ZOMBA RECORDING LLC                             JURY TRIAL DEMANDED

                                Plaintiffs,

                  - against -

 UNIVERSITY OF SOUTHERN CALIFORNIA,

                                Defendant.


                                              COMPLAINT

       Plaintiffs Sony Music Entertainment; Alamo Records, LLC; Arista Music; Arista Records,

LLC; LaFace Records, LLC; Records Label, LLC; Ultra Records, LLC; and Zomba Recordings

LLC (collectively, “Sony Music” or “Plaintiffs”) for their Complaint and Demand for Jury Trial

against the University of Southern California (“USC” or “Defendant”), allege as follows:

                                        INTRODUCTION

       1.      This is an action to stop USC’s repeated infringement of Sony Music’s valuable

copyrights in its sound recordings, and to recover damages resulting from USC’s willful, unlawful

conduct.

       2.      Sony Music and its predecessors have been at the forefront of the recorded music

industry for more than a century, and Sony Music produces, manufactures, distributes, sells and

licenses some of the most iconic and popular sound recordings of all time.

       3.      USC has one of the most lucrative college sports programs in the world, realizing

over $200 million annually in revenues from its participation in a multi-billion dollar college sports

                                                  1
       Case 1:25-cv-02042-GHW           Document 1          Filed 03/11/25   Page 2 of 27




industry. As detailed below, in USC’s own words, “we have significant upside and unlimited

potential to continue to monetize our athletic program.”1

       4.      USC itself operates and/or controls dozens of social media channels to support

USC’s commercial activities, which are the channels at issue here (the “USC Social Media Pages”).

None of these channels are personal student or faculty accounts.

       5.      USC’s strategic use of social media marketing has been remarkably broad and

successful. USC’s football program led the nation in digital engagement, and amassed nearly 21

million video views across social media platforms in September 2024 alone.2

       6.      USC leverages this engagement to support its position as a powerhouse in college

sports, and to drive increased revenues from advertising and sponsorship partnerships, direct

spending on ticket sales and merchandise, and other financial gain.

       7.      As far back as June 2021, Sony Music notified USC of its substantial unauthorized

use of Sony Music’s sound recordings on USC Social Media Pages.

       8.      Despite having been on notice of its infringing conduct, USC has repeatedly failed

to obtain licenses for its use of Sony Music sound recordings on the USC Social Media Pages,

although it has acknowledged that it needs music licenses, that music licenses must be paid for,

that music licenses can be expensive, and that music license requests may be denied. All of this

is explained by USC itself in its USC Brand and Identity Guidelines for Video and other imagery:

       All music is copyrighted which means prior to featuring it in your video, you must
       license it through the proper vendors and channels. Many music libraries exist and


1
  Ryan Kartje, Los Angeles Times, USC’s Jennifer Cohen says Trojans are ‘well positioned’ for
new revenue sharing era (July 22, 2024), https://www.latimes.com/sports/usc/story/2024-07-22/
uscs-jennifer-cohen-embracing-revenue-sharing-athletes (last visited Mar. 11, 2025).
2
  /-* (>684>72=" .64 ->1>4 :5 .<:? @ -4;># &$' /-* (>684>72= +12787>? /;31>4=" )%, 079=" 193
More (Sept. 20, 2024), https://usctrojans.com/news/2024/9/20/the-state-of-troy-sept-20-usc-
athletics-facility-updates-b1g-wins-and-more.aspx (last visited Mar. 11, 2025).

                                                2
       Case 1:25-cv-02042-GHW           Document 1        Filed 03/11/25      Page 3 of 27




       you can access them online to secure a license for a reasonable fee. If you want to
       feature “popular music” in your video, as in music you hear on the radio, you must
       license it from the publishing company and or record company that produced it.
       “Popular music” licenses tend to be much more expensive, and the licensing
       fee varies from piece to piece. Also, requests to license a piece may be denied.
       If you are interested in licensing “popular music”, contact USC’s Office of the
       General Counsel’s office for assistance.3

       9.       In flagrant disregard of this clear guidance, USC itself has distributed hundreds of

videos (if not more) which contain infringing uses of Sony Music’s sound recordings, uses that

continued even after USC was put on notice of infringement. These uses were made without

permission, without compensation to Sony Music and its artists, and in violation of USC’s own

written guidelines.

       10.      Rather than cease this infringing conduct, USC chose to flaunt copyright law,

repeatedly posting new videos to the USC Social Media Pages that use Sony Music sound

recordings knowingly and willfully and without permission. USC even left many uses available

online after being put on notice from Sony Music that they were infringing. USC made the

intentional decision not to seek permission or pay for its use of Sony Music’s sound recordings.

       11.      In January 2023, Sony Music notified USC again of numerous additional

unauthorized exploitations of its sound recordings on the USC Social Media Pages. Sony Music

also pointed out the blatantly willful conduct both in continuing to post new infringing videos and

in failing to remove the previously identified videos following Sony Music’s earlier notice of

infringement.

       12.      In July 2024, Sony Music notified USC of even further additional unauthorized

exploitations of its sound recordings by USC.



3
  USC Brand and Identity Guidelines, Imagery, https://identity.usc.edu/identity/imagery/ (last
visited Mar. 11, 2025) (emphasis supplied).

                                                 3
       Case 1:25-cv-02042-GHW          Document 1       Filed 03/11/25      Page 4 of 27




       13.    As of August 15, 2024, USC and Sony Music entered into an agreement to toll the

statute of limitations to allow for settlement discussions to continue, which extended through

January 15, 2025.

       14.    Despite being fully aware of the unauthorized activities, USC refused to take action

to remedy the repeated infringement on the USC Social Media Pages, and when SME requested

USC extend the tolling agreement before it expired, USC refused to do so.

       15.    USC’s repeated infringement is plainly willful, as evidenced by its continuing use

of Sony Music’s sound recordings in new videos without authorization, despite being given

detailed notice concerning its misconduct years ago.

       16.    USC’s conduct has caused and continues to cause irreparable and substantial harm

to Sony Music, while enriching USC at the expense of Sony Music and its artists.

       17.    Exhibit 1 contains a representative list of over 250 videos (the “USC Videos”) that

were posted by USC across 30 of the USC Social Media Pages, and which contain willful,

infringing uses of over 170 Sony Music sound recordings (the “Sony Music Recordings”).

       18.    Upon information and belief, Sony Music believes that discovery will reveal many

more infringing uses of Sony Music’s sound recordings on the USC Social Media Pages.

                                           PARTIES

       19.    Plaintiff Sony Music Entertainment (“SME”) is a Delaware general partnership,

engaged in the business of recorded music and headquartered in New York City. SME’s principal

place of business is located at 25 Madison Avenue, New York, New York 10010.

       20.    Plaintiff Alamo Records, LLC (“Alamo”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.




                                               4
       Case 1:25-cv-02042-GHW             Document 1        Filed 03/11/25      Page 5 of 27




       21.     Plaintiff Arista Music (“Arista Music’) is a New York partnership with its principal

place of business at 25 Madison Avenue, New York, New York 10010.

       22.     Plaintiff Arista Records, LLC (“Arista Records”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       23.     Plaintiff LaFace Records, LLC (“LaFace”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       24.     Plaintiff Records Label, LLC (“Records Label”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       25.     Plaintiff Ultra Records, LLC (“Ultra”) is a Delaware Limited Liability Company

with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       26.     Plaintiff Zomba Recording LLC (“Zomba”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       27.     Alamo, Arista Music, Arista Records, LaFace, Records Label, Ultra and Zomba are

companies owned by or affiliated with SME.

       28.     Sony Music is engaged in the business of producing sound recordings and

distributing, selling, and/or licensing the reproduction, distribution, sale, preparation of derivative

works based upon, and performance of sound recordings in phonorecords (as defined in 17 U.S.C.

§ 101), in audiovisual works, and for streaming (i.e., performing) and downloading over the

Internet and through other mediums. Sony Music invests substantial money, time, effort, and

creative talent in discovering and developing recording artists, and in creating, advertising,

promoting, selling, and licensing sound recordings embodying the performances of their exclusive

recording artists and their unique and valuable sound recordings.




                                                  5
          Case 1:25-cv-02042-GHW         Document 1       Filed 03/11/25       Page 6 of 27




          29.   Defendant USC is a nonprofit corporation, incorporated under the laws of

California, with its principal place of business in Los Angeles, California.

                                 JURISDICTION AND VENUE

          30.   This is a civil action seeking damages and injunctive relief for copyright

infringement under the Copyright Act, 17 U.S.C. § 101, et seq.

          31.   This Court has original subject matter jurisdiction over this action under 28 U.S.C.

§§ 1331 and 1338(a).

          32.   This Court has personal jurisdiction over USC on numerous grounds. USC transacts

substantial business within New York. USC maintains a “University Advancement” Office in

New York City at 600 Madison Avenue, conducts academic programs in New York, organizes

events in New York relating to recruiting, admissions, networking and sports, and maintains an

active alumni club in New York. Upon information and belief, New York residents have donated

substantial sums to USC through its New York advancement office, paid tuition for USC academic

programs conducted in New York, and participated in USC’s New York recruiting and networking

events.

          33.   USC participates in a multi-billion dollar sports industry, generating hundreds of

millions in revenue, a substantial portion of which comes from interstate commerce including

media rights agreements. USC participates in media rights agreements that ensure USC’s athletic

competitions are regularly broadcast into New York, targeting a substantial audience of USC fans,

prospective students, alumni, and donors in the state. USC’s videos drive traffic to its website

where New York residents can purchase tickets and merchandise. Upon information and belief,

New York residents have purchased USC merchandise and tickets to USC sporting events.




                                                 6
       Case 1:25-cv-02042-GHW            Document 1        Filed 03/11/25    Page 7 of 27




       34.     The infringing videos and USC's New York activities are part of the same integrated

marketing strategy designed to enhance USC's brand, expand its reach, and increase its revenues.

USC’s copyright infringement outside of New York caused injury to Sony Music within New York

and USC expects or should reasonably expect its acts to have consequences in New York. USC

derives substantial revenue from interstate commerce, including from efforts aimed at New York

as described above. USC has been repeatedly notified of its copyright infringement since June

2021 and yet it continued to distribute infringing content, demonstrating USC knows its activities

had an impact outside of California, including directly affecting Sony Music in New York.

       35.     USC’s purposeful activities directed at New York are substantial, and the exercise

of jurisdiction comports with traditional notions of fair play and substantial justice. Moreover,

USC's vigorous defense of its own intellectual property rights demonstrates its understanding of

intellectual property laws and the types of harm that occur when such rights are violated.

       36.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and 28 U.S.C. §

1400(a). Venue is proper because, inter alia, USC “may be found” in this District, and is subject

to personal jurisdiction here, for the reasons set forth above.

                                  SONY MUSIC’S BUSINESS

       37.     Sony Music is home to some of the world’s most distinguished record labels,

including Columbia Records, RCA Records, Sony Nashville, Arista Records, Ultra Records, and

Epic Records, through which it contracts with its world-class recording artists.

       38.     Through substantial investments of money, time, and creative effort, Sony Music

and its recording artists have developed some of the most iconic sound recordings of all time, as

well as many of today’s biggest hits.




                                                  7
       Case 1:25-cv-02042-GHW           Document 1       Filed 03/11/25      Page 8 of 27




       39.     Sony Music also invests heavily in signing and developing new artists, and in

marketing and promoting their recordings.

       40.     Sony Music often invests on the front end of an artist’s career – through advances,

recording, marketing, creative services, promotion, and more – looking to help the artist, and the

artist’s recordings, achieve success.

       41.     Sony Music’s financial incentives to invest in artists and their music flow directly

from the protections afforded by copyright laws, and the revenues Sony Music earns from the

sound recordings that it owns or controls, which include revenues from licensing recordings for

use in social media posts.

       42.     The investments made by Sony Music are protected by copyright law, which grants

the copyright owner the exclusive right to, among other things, reproduce and distribute

copyrighted works (in this case, sound recordings), publicly perform and transmit those works,

and create derivative works from the originals.

       43.     Licensing the use of sound recordings, including for use in internet-based media, is

a substantial revenue driver for all music companies, including Sony Music, especially over the

last decade.

       44.     Those who use Sony Music’s sound recordings, whether on streaming services,

social media platforms, television, or otherwise, are obligated to follow copyright laws and obtain

permission from Sony Music.

       45.     Sony Music has licensing agreements with a wide range of companies, including

major brands and sports teams that invest heavily in digital marketing. These organizations pay

substantial sums to license Sony Music sound recordings for use in digital advertising content,

including videos posted on platforms such as YouTube, Instagram, Facebook, and TikTok. By


                                                  8
       Case 1:25-cv-02042-GHW            Document 1        Filed 03/11/25      Page 9 of 27




using Sony Music’s copyrighted sound recordings without authorization, USC not only avoids

paying licensing fees but also gains an unfair competitive advantage in attracting sponsors,

advertising partners, fans and potential athletes and other students.4

       46.     Each Sony Music Recording is either: (a) covered by a valid copyright registration;

(b) one for which Sony Music has the rights to pursue these claims for sound recordings originating

outside of the United States under the Berne Convention; or (c) is a sound recording fixed before

February 15, 1972, and included on a schedule filed with the Copyright Office pursuant to the

Orrin G. Hatch-Bob Goodlatte Music Modernization Act.

       47.     As the owner of copyrights in the Sony Music Recordings, Sony Music possesses

the exclusive rights to, among other things, reproduce in copies or phonorecords, to prepare

derivative works, to distribute copies or phonorecords to the public, to perform publicly by means

of a digital audio transmission, and to license these exclusive rights, including for use in internet-

based media.

                            USC’S REPEATED INFRINGEMENT

    A. USC’s Reliance on Social Media and Digital Platforms

       48.     USC is a private research university in Los Angeles, California. For the fiscal year

ending June 30, 2024, USC reported operating revenues of more than $7 billion, which included




4
  See, e.g., Cristian Perez, Social Media Is Changing How Sports Franchises and Fans Interact,
USC Annenberg School for Communication and Journalism (Feb. 16, 2017), https://annenberg.
usc.edu/communication/digital-social-media-ms/dsm-today/social-media-changing-how-sports-
franchises-and-fans (“As a growing number of Americans are engaging on platforms like
Twitter, Instagram and Facebook, companies are increasingly relying upon social media to
market their products and engage with their clients—sports teams are no exception.”) (last
visited Mar. 11, 2025).

                                                  9
       Case 1:25-cv-02042-GHW           Document 1        Filed 03/11/25     Page 10 of 27




$320 million in “auxiliary enterprises” revenues, which includes revenues generated from

athletics.5

        49.    USC has one of the most lucrative college sports programs in the world, and its

intercollegiate sports teams, the Trojans, are internationally recognized.

        50.    USC participates in a multi-billion dollar college sports industry, and is one of the

top programs in annual revenue. USC reported $212 million in total athletics revenue for the 2022-

2023 school year, underscoring its position as a powerhouse in collegiate athletics. 6 Upon

information and belief, this substantial revenue is derived largely from media rights, sponsorships,

royalties and licensing, ticket sales and merchandise.7 Upon information and belief, USC also

financially benefits from increased USC brand licensing that occurs alongside increased Name,

Image, and Likeness (NIL) activities flowing from the increased engagement generated by the

USC Videos.

        51.    USC’s sports programs bear the hallmarks of a commercial enterprise. USC’s

football coach Lincoln Riley was paid more than $19 million in the 2023 fiscal year, one of the

highest paid college football coaches in the nation. In August 2024, USC switched athletics

conferences to join the Big Ten Conference, which forecasts television revenues of $80 to $100




5
  Consolidated Financial Statements For the Years Ended June 30, 2024 and 2023 (Nov. 20, 2024),
https://bpb-us-w1.wpmucdn.com/sites.usc.edu/dist/d/791/files/2024/11/2024-USC-Financial-
Report.pdf (last visited Mar. 11, 2025).
6
  Ryan Kartje, Los Angeles Times, USC’s Jennifer Cohen says Trojans are ‘well positioned’ for
new revenue sharing era (July 22, 2024), https://www.latimes.com/sports/usc/story/2024-07-
22/uscs-jennifer-cohen-embracing-revenue-sharing-athletes (last visited Mar. 11, 2025).
7
  Andrew Zimbalist, PBS, Analysis: Who is winning in the high-revenue world of college sports?
(Mar. 18, 2023), https://www.pbs.org/newshour/economy/analysis-who-is-winning-in-the-high-
revenue-world-of-college-sports (last visited Mar. 11, 2025).

                                                 10
      Case 1:25-cv-02042-GHW           Document 1        Filed 03/11/25     Page 11 of 27




million annually per school.8 In July 2024, USC’s Athletic Director Jennifer Cohen explained in

an interview with the Los Angeles Times: “All athletic directors are thinking 24/7 about revenue

generation . . . The good news for us at USC is we have significant upside and unlimited potential

to continue to monetize our athletic program, so we’ve got to roll up our sleeves.”9 The same

article detailed some of USC’s planned investments in sports programs: “A $38-million stadium

for women’s soccer and lacrosse is expected to open next fall. A three-level football performance

center and gleaming practice field will be ready in 2026, followed by a repositioned baseball

complex to replace Dedeaux Field, which was demolished to accommodate the football facility.”

       52.     Social media is a crucial and valuable marketing tool that USC uses to promote its

brands and sports programs, and ultimately increase its “auxiliary enterprise” revenues. Indeed,

USC recognizes that “[b]uilding a social media presence is an excellent way to extend your

presence online and promote content in an environment that allows your audience to engage with

the university brand.”10

       53.     USC actively utilizes the USC Social Media Pages to share promotional videos

designed to attract attention, expand its reach, enhance its reputation, and increase its revenues.

These videos aim to appeal to prospective students, donors, fans and customers.

       54.     USC’s strategic approach to digital media is especially true for USC’s athletics

program. For example, USC maintains an athletics “Social Media Directory” – the purpose of




8
  Adam Rittenberg, Big Ten Completes 7-Year, $7 Billion Media Rights Agreement with Fox,
CBS, NBC, ESPN (Aug. 18, 2022), https://www.espn.com/college-football/story/_/id/34417911/
big-ten-completes-7-year-7-billion-media-rights-agreement-fox-cbs-nbc (last visited Mar. 11,
2025).
9
  Kartje, USC’s Jennifer Cohen, supra.
10
    University of Southern California, USC Brand and Identity Guides: Social Media,
https://identity.usc.edu/applying-the-brand/social-media-2/ (last visited Mar. 11, 2025).

                                                11
       Case 1:25-cv-02042-GHW             Document 1    Filed 03/11/25     Page 12 of 27




which is solely to identify the Facebook, Instagram and X accounts for USC’s individual athletic

departments.11

        55.      Upon information and belief, USC has spent significant time and resources in

building the USC Social Media Pages, which have been successful and resulted in significant

engagement, enhancing USC’s revenues substantially.        In September 2024, USC’s football

program led the nation in digital engagement, amassing nearly 21 million video views across social

media platforms alone.12

        56.      The USC Videos have been made publicly available online by USC on social media

accounts that USC either owns or controls, and that make extensive use of USC’s branding and

logos – on both the social media accounts and within the USC Videos themselves.

     B. USC’s Infringing Videos

        57.      USC recognizes the importance of music to its marketing strategy, and has

implemented an intentional strategy to pair its videos with popular music to enhance its marketing

success.

        58.      To help popularize the USC Videos, USC intentionally added Sony Music’s well-

known copyrighted works to the videos. The Sony Music Recordings constitute the soundtrack to

the videos, usually running the length of the video and including the most recognizable parts of

the tracks, such as the hook or chorus.




11
   Social Media Directory, https://usctrojans.com/sports/2017/10/31/usc-athletics-social-media-
directory (last visited Mar. 11, 2025).
12
   /-* (>684>72=" .64 ->1>4 :5 .<:? @ -4;># &$' /-* (>684>72= +12787>? /;31>4=" )%, 079=" 193
More (Sept. 20, 2024), https://usctrojans.com/news/2024/9/20/the-state-of-troy-sept-20-usc-
athletics-facility-updates-b1g-wins-and-more.aspx (last visited Mar. 11, 2025).

                                                12
      Case 1:25-cv-02042-GHW           Document 1       Filed 03/11/25     Page 13 of 27




       59.     USC has used extremely popular selections from Sony Music’s catalog in the USC

Videos, to tie USC’s brand to the iconic success of Sony Music artists and the instant recognition

and good will of classic hits, such as “Gimme More” by Britney Spears, “Run the World (Girls)”

by Beyoncé, “Beat It” by Michael Jackson, “Back in Black” by AC/DC, “Yeah!” by Usher

featuring Lil Jon & Ludacris, “As It Was” by Harry Styles, “September” by Earth, Wind and Fire,

“All I Want for Christmas is You” by Mariah Carey, “My Heart Will Go On” by Céline Dion, and

many others.

       60.     USC also exploits Sony Music’s hit recordings when they have just been released

and are at the top of the charts. “Like That” by Future, Metro Boomin, and Kendrick Lamar was

an instant hit when it was released in late March 2024, debuting at #1 on the Billboard Hot 100.

Within days, USC was using the newly-released hit without permission as the full soundtrack to

multiple videos on USC Social Media Pages for at least three different sports.

       61.     USC’s selection of the specific Sony Music Recordings for the USC Videos was

deliberate, meant to maximize attention to USC and its prominent sports programs, and boost its

overall brand and auxiliary enterprise revenues.

       62.     As discussed in business articles, the use of music in advertisements suggests that

music makes campaigns more memorable and effective and “keep[s] viewers interested and

wanting more.”13




13
   Lisa Montenegro, Forbes Agency Council, Boosting the Creative Journey: How Brands and
Creators Can Use Instagram’s Latest Updates, Forbes (Sept. 8, 2023),
https://www.forbes.com/sites/forbesagencycouncil/2023/09/08/boosting-the-creative-journey-
how-brands-and-creators-can-use-instagrams-latest-updates/ (last visited Mar. 11, 2025).

                                               13
      Case 1:25-cv-02042-GHW            Document 1       Filed 03/11/25      Page 14 of 27




       63.     A study conducted by TikTok confirms that “using a trending song in . . . content

is a great way to capture [the] community’s attention” and that “67% of TikTok users would prefer

to see videos from brands featuring popular or trending songs on TikTok.”14

       64.     As TikTok confirms, “music is at the heart of the TikTok experience” and is “the

glue that connects TikTok’s disparate threads.”15

      65.      According to another study commissioned by TikTok in Australia, “the number of

 people using TikTok in Australia fell after the company limited the music some people could put

 in their posts.”16 The study concluded that TikTok (and presumably other social media platforms)

 is dependent on its access to popular songs.17

       66.     Many of the USC Videos prominently display USC’s names and logos (e.g., “USC,”

“SC” or “USC Trojans”) and are deliberately branded, often accompanied by the address for the

USC Trojans website.

       67.     Once directed to the USC Trojan website, viewers can buy tickets 18 and

merchandise,19 as well as get information on upcoming games20 and USC sports teams.21 The




14
   TikTok, New studies quantify TikTok’s growing impact on culture and music (Dec. 13, 2021),
https://newsroom.tiktok.com/en-us/new-studies-quantify-tiktoks-growing-impact-on-culture-and-
music (last visited Mar. 11, 2025).
15
    TikTok, Year on TikTok 2021, Music Report, https://newsroom.tiktok.com/en-us/year-on-
tiktok-music-report-2021 (last visited Mar. 11, 2025).
16
   Bloomberg, TikTok Lost Customers When It Took Away Music in Australia (Mar. 22, 2023),
https://www.bloomberg.com/news/articles/2023-03-22/tiktok-lost-customers-when-it-took-away-
music-in-australia (last visited Mar. 11, 2025).
17
   Id.
18
   See e.g., USC Trojans Ticket Sales, https://usctrojans.evenue.net/list/ATH (last visited Mar. 11,
2025).
19
   See e.g., USC Trojans Official Store, https://shop.usctrojans.com (last visited Mar. 11, 2025).
20
   See e.g., USC Trojans Events Calendar, https://usctrojans.com/calendar (last visited Mar. 11,
2025).
21
   See e.g., USC Trojans Athletics, https://usctrojans.com (last visited Mar. 11, 2025).

                                                  14
      Case 1:25-cv-02042-GHW            Document 1       Filed 03/11/25      Page 15 of 27




USC Videos are advertisements for customers of USC products and services (e.g., tickets and

merchandise), and serve to increase USC’s operating revenues.

       68.     For example, on September 1, 2024 (well after being on notice of unauthorized use

of the Sony Music Recordings), USC Football uploaded to the USC Social Media Pages a polished

and professional advertising “hype” video using advanced CGI graphics and entitled “2024 USC

Football: Arrival of the Trojan—Season Trailer” (the “2024 Trojan Hype Video”). The 2024

Trojan Hype Video promoted USC’s upcoming football season, featuring as an unlicensed

soundtrack Sony Music’s sound recording “Like That” by Future, Metro Boomin, and Kendrick

Lamar. The 2024 Trojan Hype Video original YouTube post alone was viewed over 100,000 times

and generated substantial media coverage that affiliated USC with the Sony Music “hit song,”

boosting USC’s reputation as a marquee sports program 22 that is, inter alia, deserving of

participation in the multi-billion dollar Big Ten Conference television deal.23

       69.     Numerous other USC Videos reflect similarly intentional strategic marketing that

uses the tremendous goodwill built by Sony Music and its artists for USC’s benefit, without

permission and in contravention of copyright law.

       70.     USC is well aware that these kinds of uses are commercial in nature. USC actively

seeks to protect and enforce its own intellectual property against commercial use. For example, in



22
   After going viral on social media, the 2024 Trojan Hype Video was played in stadium as the
walk out song for the Trojans before games.
23
   See, e.g., College Football Fans Absolutely Loved USC’s Epic Hype Video for 2024 Season,
Sports Illustrated (Aug. 9, 2024), https://www.si.com/college-football/usc-hype-video-2024-fans-
loved; USC Hype Video Goes Viral Ahead of Marquee LSU Matchup, Newsweek (Aug. 9, 2024),
https://www.newsweek.com/sports/ncaa/usc-hype-video-goes-viral-ahead-marquee-lsu-matchup-
1947267; USC Trojans Reveal Jaw-Dropping Hype Video Ahead of Huge LSU Clash, The U.S.
Sun (Aug. 9, 2024), https://www.the-sun.com/sport/12344249/usc-football-hype-video-lsu/
(“[T]he clip displayed the players celebrating as the Metro Boomin hit song Like That played in
the background.”).

                                                15
       Case 1:25-cv-02042-GHW           Document 1        Filed 03/11/25      Page 16 of 27




its detailed NIL Policy for student-athletes – in addressing the wearing of USC apparel – it explains

that “the wearing of apparel in promotions pictures, videos, or advertisements is typically

commercial activity beyond incidental use.” 24 Indeed, the USC Videos themselves generally

feature people wearing USC apparel, often alongside other uses of USC logos and marks.

        71.     USC has also vigorously defended its own trademark and related intellectual

property against others. See e.g., Univ. of S.C. v. Univ. of S. Cal., 467 F. App’x 129 (Fed. Cir.

2010). USC plainly understands the intellectual property rights at issue, as well as the types of

harm that occur when intellectual property rights are violated, and cannot disclaim responsibility

for its own actions in derogation of such rights.

        72.     Sony Music (and other record labels) has built an extensive business licensing its

sound recordings for use in videos like those at issue here, including for use in social media

advertisements. Sony Music derives substantial revenue from this sector of its business, which it

shares with its artists.

        73.     Many artists also exercise approval rights relating to licensing of their music, and

are selective in granting their consent. USC’s unauthorized exploitation thus not only deprives

artists of compensation, but also of their ability to choose how or where their music is used.

        74.     USC even acknowledges in its own Video and Social Media Guidelines that it needs

a license to use copyrighted music in the USC Videos. Yet, USC did not obtain a license to use

the Sony Music Recordings in any of the videos, instead choosing to exploit the Sony Music

Recordings to enhance its videos without permission, directly depriving Sony Music and its artists

of due compensation.



24
  See USC Athletics, Student – Name, Image, and Likeness (NIL) Policy, https://policy.usc.edu/
usc-athletics-student-athlete/ (last visited Mar. 11, 2025).

                                                    16
      Case 1:25-cv-02042-GHW            Document 1       Filed 03/11/25      Page 17 of 27




       75.     Notably, upon information and belief, USC’s rampant infringement is not limited

to content controlled by Sony Music. In addition to the hundreds of representative infringements

that Sony Music has identified herein, USC has used, without permission, many sound recordings

owned and controlled by numerous other record labels, as well as musical compositions owned

and controlled by numerous music publishers.

                           USC’S INFRINGEMENT IS WILLFUL

       76.     As detailed above, on multiple occasions since June 2021, Sony Music has notified

USC of posts on the USC Social Media Pages that contain infringing content.

       77.     Shortly after the first notice, USC’s representative replied that USC had removed

all of the identified videos from its social media accounts, although it had not done so. USC failed

to produce any license for the uses of Sony Music Recordings in the USC Videos or offer

compensation to Sony Music for past infringement.

       78.      Instead, USC chose to continue using unlicensed Sony Music Recordings in new

videos. USC even uploaded videos in 2024 featuring the same sound recordings that Sony Music

had already identified to USC in 2021 as being used in other videos.

       79.     USC also continued to maintain on the USC Social Media Pages many specific

previously-identified videos even after Sony Music gave notice of those specific infringements,

and USC thereby continued to benefit from its infringing acts.

       80.     Indeed, all of the representative infringements identified in Exhibit 1 were posted

by USC after Sony Music had already identified other specific infringing conduct on the USC

Social Media Pages.

       81.     Further demonstrating USC’s willfulness, the terms of service for each of the social

media platforms on which USC posted the infringing conduct make clear that the use of


                                                17
       Case 1:25-cv-02042-GHW            Document 1        Filed 03/11/25    Page 18 of 27




copyrighted music without a license is strictly prohibited, and detail specific prohibitions in

connection with commercial activities.

       82.     For example, YouTube’s Terms of Services25 unmistakably provide that content

uploaded to YouTube “must not include third-party intellectual property (such as copyrighted

material) unless [a user] ha[s] permission from that party or [is] otherwise legally entitled to do

so.”

       83.     Facebook’s Music Guidelines,26 also provide that “[u]se of music for commercial

or non-personal purposes in particular is prohibited unless you have obtained appropriate licenses.”

       84.     Instagram’s Terms of Use27 incorporate Facebook’s Music Guidelines and likewise

prohibit use of music for commercial or non-personal purposes without an appropriate license.28

       85.     Instagram further expressly acknowledges that the “music available in [its music]

library is intended for personal, non-commercial use.”29

       86.     TikTok’s Intellectual Property Policy likewise provides: “TikTok respects the

intellectual property rights of others, and we expect you to do the same. TikTok’s Terms of Service

and Community Guidelines do not allow posting, sharing, or sending any content that violates or

infringes someone else’s copyrights, trademark or other intellectual property rights.”30



25
   YouTube, Terms of Service, https://www.youtube.com/static?template=terms (last visited Mar.
11, 2025).
26
   Facebook, Music Guidelines, https://www.facebook.com/legal/music_guidelines (last visited
Mar. 11, 2025).
27
   Instagram, Terms of Use, https://help.instagram.com/termsofuse (last visited Mar. 11, 2025).
28
   For certain commercial uses, Instagram permit royalty-free access to a select collection of music
through Facebook’s Sound Collection. None of Sony Music’s Sound Recordings in the USC
Videos are included within the Sound Collection.
29
    Facebook, Business Help Center, Access to the licensed music library on Instagram,
https://www.facebook.com/business/help/402084904469945 (last visited Mar. 11, 2025).
30
   TikTok, Intellectual Property Policy, https://www.tiktok.com/legal/copyright-policy?lang=en
 (last visited Mar. 11, 2025) (emphasis added).

                                                18
      Case 1:25-cv-02042-GHW             Document 1        Filed 03/11/25      Page 19 of 27




       87.     In fact, TikTok’s Terms of Service unambiguously provide (all caps in original):

       NO RIGHTS ARE LICENSED WITH RESPECT TO SOUND RECORDINGS
       AND THE MUSICAL WORKS EMBODIED THEREIN THAT ARE MADE
       AVAILABLE FROM OR THROUGH THE SERVICE.31

       88.     Moreover, since prior to the date when each of the USC Videos was posted to

TikTok, TikTok has required business account users to first click-through a Music Usage

Confirmation before posting videos with copyrighted music such as the Sony Music Recordings.

In order to post such videos, the user must confirm that (a) it owns all rights to the music, (b) there

is no copyright protected music in the video or (c) the user has obtained and paid for all necessary

licenses to use the music.32 An example of the current Music Usage Confirmation that must be

made prior to posting is as follows:




31
   Tik Tok, Terms of Service, Content, https://www.tiktok.com/legal/page/us/terms-of-service/en
(last visited Mar. 11, 2025).
32
   TikTok, Music Usage Confirmation, https://www.tiktok.com/legal/page/global/music-usage-
confirmation/en (last visited Mar. 11, 2025); TikTok, Commercial Use of Music on TikTok,
https://support.tiktok.com/en/business-and-creator/creator-and-business-accounts/commercial-
use-of-music-on-tiktok (last visited Mar. 11, 2025).

                                                  19
      Case 1:25-cv-02042-GHW            Document 1       Filed 03/11/25      Page 20 of 27




       89.     Thus, upon information and belief, before posting USC Videos to TikTok, USC

falsely confirmed that either it was not using copyrighted music or that it had a license to use the

Sony Music Recordings.

       90.     Each time USC created an account on these platforms, it was required to, and did,

agree to each of their terms of use.

       91.     USC is well aware that its conduct constitutes copyright infringement. Upon

information and belief, USC expends substantial resources to create and develop its intellectual

property, including its social media content. Indeed, USC maintains guidelines for videos and

other imagery posted on USC’s websites and social media accounts which, according to USC,

“must follow and respect U.S. copyright laws.” 33

       92.     Similarly, USC’s Social Media Guidelines explicitly direct users of USC Social

Media Accounts to: “Follow all copyright, fair use, and respect intellectual property rights” and

“Do not use assets that you do not have explicit permission to use from the owner.”34

       93.     With respect to music used in videos posted on USC’s websites and/or social media

accounts, USC Brand and Identity Guidelines explicitly note that:


       USC considers all websites and social media platforms to be marketing tools and
       under copyright law, the “user” (USC) must hold the copyright for any photographs,
       music or videos posted on those platforms. Even though USC is licensing the
       content to the website or social media platform, the onus remains on the USC to
       possess the copyright or license and to follow and respect copyright laws. If you
       are planning to post a video to a website or social media platform, you cannot
       feature photographs, music, videos, or even video clips you may have “found” on




33
   USC Brand and Identity Guidelines, Imagery, https://identity.usc.edu/identity/imagery/ (last
visited Mar. 11, 2025).
34
   USC Brand and Identity Guidelines, Social Media, https://identity.usc.edu/applying-the-
brand/social-media-2/ (last visited Mar. 11, 2025).

                                                20
       Case 1:25-cv-02042-GHW            Document 1      Filed 03/11/25      Page 21 of 27




        the internet unless you possess the copyright for them and/or have properly licensed
        those assets.35

        94.       USC’s policies for the USC Social Media Pages also make clear the control that

USC has over these channels. For example, school units setting up these channels are instructed

to, inter alia:

        Identify a full-time employee dedicated to managing your unit’s social media
        content and conversation monitoring. The primary user’s supervisor should have
        full administrative rights to all social media accounts. A content operations plan
        should include regular check-ins with the primary user’s supervisor to discuss the
        health of each respective platform.
        …

        Do not give control and use of your official USC social media accounts to anyone
        outside your business unit’s immediate communications team.36

        95.       The USC Trojans Staff Directory includes an entire division of staff related to

“CREATIVE CONTENT/SOCIAL MEDIA.” This division includes a C-level Officer (Chief

Creative Officer), a Director of Social Media, an Assistant Director of Social Media, and others.37

        96.       Despite the foregoing, USC has posted numerous USC Videos exploiting Sony

Music Recordings to YouTube, Facebook, Instagram and TikTok, in blatant disregard of Sony

Music’s rights as well as each of the platforms’ terms of use. USC has neither obtained, nor made

any effort to obtain, permission from Sony Music to use the Sony Music Recordings in the USC

Videos.




35
   USC Brand and Identity Guidelines, Imagery, https://identity.usc.edu/identity/imagery/ (last
visited Mar. 11, 2025).
36
   USC Brand and Identity Guidelines, Social Media, https://identity.usc.edu/applying-the-brand/
social-media-2/ (last visited Mar. 11, 2025).
37
   USC Trojans, Staff Directory, https://usctrojans.com/staff-directory (last visited Mar. 11,
2025).

                                                 21
      Case 1:25-cv-02042-GHW            Document 1       Filed 03/11/25      Page 22 of 27




                                             COUNT I

                                COPYRIGHT INFRINGEMENT

       97.      Sony Music incorporates the preceding paragraphs of this Complaint as if fully set

forth herein.

       98.      By the acts set forth above, USC has infringed Sony Music’s copyrights in the Sony

Music Recordings, including by reproducing, distributing, and publicly performing by way of

digital transmission of the Sony Music Recordings without authorization, in violation of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

       99.      Each such infringement by USC of the Sony Music Recordings constitutes a

separate and distinct act of infringement.

       100.     USC’s acts of infringement are willful, in disregard of and with indifference to the

rights of Sony Music.

       101.     As a direct and proximate result of the infringements by USC, Sony Music is

entitled to its damages and to USC’s profits attributable to the infringement in amounts to be

proven at trial. Alternatively, Sony Music is entitled to statutory damages up to the amount of

$150,000 for each copyright infringed, or in such other amount as may be proper under 17 U.S.C.

§ 504(c).

       102.     Sony Music is further entitled to its attorneys’ fees and full costs pursuant to 17

U.S.C. § 505.

                                             COUNT II

                                VICARIOUS INFRINGEMENT

       103.     Sony Music incorporates the preceding paragraphs of this Complaint as if fully set

forth herein.


                                                 22
      Case 1:25-cv-02042-GHW             Document 1      Filed 03/11/25      Page 23 of 27




       104.      If USC is not directly liable for the infringing conduct within the USC Videos on

the USC Social Media Pages, then it is at least vicariously liable for such conduct.

       105.      As described above, USC has the right, ability, and authority to control and

supervise the creation and posting of videos created or posted on the USC Social Media Pages.

       106.      USC has failed to exercise its right and ability to control and/or supervise the

infringing activity on the USC Social Media Pages.

       107.      As described above, USC receives a direct financial benefit from infringing videos

posted on the USC Social Media Pages.

       108.      The exploitation of the Sony Music Recordings on the USC Social Media Pages

saves USC the cost of a license, increases USC’s revenues, and drives users to the USC Social

Media Pages that promote the USC brands and sports programs. USC’s failure to take any action

has caused the USC Social Media Pages to continue to include the Sony Music Recordings without

authorization.

       109.      Sony Music has been damaged, and will continue to be damaged, by USC’s

knowing, deliberate and willful acts of vicarious infringement.

       110.      Sony Music is entitled to injunctive relief prohibiting USC from further acts of

vicarious infringement.

       111.      As a direct and proximate result of USC’s vicarious infringement of Sony Music’s

copyrights and exclusive rights under copyright, Sony Music is entitled to its actual damages,

including USC’s profits attributable to the infringement, in amounts to be proven at trial, pursuant

to 17 U.S.C. § 504(b), or, in the alternative, at Sony Music’s election pursuant to 17 U.S.C. §

504(c), to statutory damages up to the amount of $150,000 per infringed work, or such other

amounts as may be proper under 17 U.S.C. § 504(c).


                                                 23
      Case 1:25-cv-02042-GHW             Document 1       Filed 03/11/25       Page 24 of 27




       112.     Sony Music is entitled to its costs, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505.

                                            COUNT III

                             CONTRIBUTORY INFRINGEMENT

       113.     Sony Music incorporates the preceding paragraphs of this Complaint as if fully set

forth herein.

       114.     If USC is not directly liable for the infringing USC Videos on the USC Social

Media Pages, USC is at least contributorily liable for the infringing USC Videos posted on the

USC Social Media Pages.

       115.     As described above, USC induced and/or materially contributed to the infringing

USC Videos posted on the USC Social Media Pages. USC’s contribution further included the

activities of an entire department dedicated towards fostering social media engagement for its

athletics program, creating internal support which, upon information and belief, directly

contributed to the proliferation of the USC Videos. USC’s contribution also included providing

explicit guidelines and guidance on using social media effectively.

       116.     As described above, USC knew, had reason to know, or was willfully blind that its

USC Social Media Pages were being used to distribute the USC Videos that contain unlicensed

copyrighted works. USC received specific notice of infringing activities on the USC Social Media

Pages, including in the USC Videos. Further, upon information and belief, USC employees and/or

agents supervised the USC Social Media Pages and actively reviewed infringing content that was

posted to the USC Social Media Pages.

       117.     To the extent USC does not have actual knowledge, the systematic infringement on

the USC Social Media Pages combined with USC’s substantial investment in social media


                                                 24
      Case 1:25-cv-02042-GHW            Document 1       Filed 03/11/25       Page 25 of 27




marketing generally, establishes that USC is aware of a high probability of infringement on the

USC Social Media Pages, both consciously and intentionally.

       118.    USC’s conduct constitutes willful contributory copyright infringement.

       119.    Sony Music has been damaged, and will continue to be damaged, by USC’s acts of

contributory infringement.

       120.    Sony Music is entitled to injunctive relief prohibiting USC from further acts of

contributory infringement.

       121.    In addition, as a direct and proximate result of USC’s contributory infringement of

Sony Music’s copyrights and exclusive rights under copyright, Sony Music is entitled to its actual

damages, including USC’s profits attributable to the infringement, in amounts to be proven at trial,

pursuant to 17 U.S.C. § 504(b), or, in the alternative, at Sony Music’s election pursuant to 17

U.S.C. § 504(c), to statutory damages up to the amount of $150,000 per infringed work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

       122.    Sony Music is entitled to its costs, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505.

                                        PRAYER FOR RELIEF

       WHEREFORE, Sony Music respectfully requests the Court enter a judgment in its favor

and against USC:

       a.      A declaration that USC has willfully infringed Sony Music’s copyrighted sound

               recordings in violation of the Copyright Act;

       b.      A permanent injunction enjoining USC and its respective agents, employees,

               officers, principals, attorneys, directors, representatives, licensees, partners and

               assignees, and all persons acting in concert with any one of them, to cease and desist


                                                25
      Case 1:25-cv-02042-GHW              Document 1        Filed 03/11/25       Page 26 of 27




                 from directly and indirectly infringing, and causing, enabling, facilitating,

                 encouraging, promoting, inducing and/or participating in the infringement of, any

                 of Sony Music’s rights protected by the Copyright Act, including but not limited to

                 the sound recordings set forth in Exhibit 1 to the Complaint;

         c.      An order requiring USC to render a full and complete accounting to Sony Music

                 for USC’s profits, gains, advantages, and the value of the business opportunities

                 received from its infringing activities;

         d.      For statutory damages pursuant to 17 U.S.C. § 504(c) for USC’s willful

                 infringement in the amount of $150,000 with respect to each copyrighted work or,

                 in the alternative, at Sony Music’s election, Sony Music’s actual damages and

                 USC’s profits attributable to the infringement pursuant to 17 U.S.C. § 504(b), in an

                 amount to be proven at trial;

         e.      For Sony Music’s reasonable attorneys’ fees and costs pursuant to 17 U.S.C. § 505;

         f.      For pre-judgment and post-judgment interest according to law; and

         g.      For such other and further relief as the Court may deem just and proper.

                                          JURY TRIAL DEMAND

         Sony Music respectfully demands a trial by jury on all claims and issues so triable pursuant

to Federal Rule of Civil Procedure 38.



Dated:        New York, New York                            PRYOR CASHMAN LLP
              March 11, 2025
                                                             /s/ Benjamin K. Semel
                                                            Benjamin K. Semel, Esq.
                                                            Kaveri Arora, Esq.
                                                            PRYOR CASHMAN LLP
                                                            7 Times Square


                                                   26
Case 1:25-cv-02042-GHW   Document 1   Filed 03/11/25   Page 27 of 27




                                      New York, NY 10036
                                      (212) 421-4100
                                      bsemel@pryorcashman.com
                                      karora@pryorcashman.com
                                      Attorneys for Plaintiffs Sony Music
                                      Entertainment, Alamo Records, LLC,
                                      Arista Music, Arista Records, LLC,
                                      LaFace Records, LLC, Records Label,
                                      LLC, Ultra Records, LLC, and Zomba
                                      Recordings LLC




                               27
